i*

Case: 23-12139 Doc:1_ Filed: 08/11/23

MUM M ULC MUEcLCermComie(-Tel Ci A mate] mer: lot

Western District of Oklahoma

Gase number (if known}:

United States Bankruptcy Court for the:

Chapter you are filing under:

Chapter 7
Chapter 11
C1] Chapter 12
Cl Chapter 13

Official Form 201

Page: 1 of 11

Q) Check if this is an
amended filing

Voluntary Petition for Non-Individuals Filing for Bankruptcy 06/22

if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-individuals, is available.

1. Debtor's name

Qitek Labs of Oklahoma, LLC

2. All other names debtor used
in the last 8 years

Include any assumed names,
trade names, and doing business
as names

3. Debtor’s federal Employer
Identification Number (EIN)

XX-XXXXXXX

4, Debtor's address

Principal place of business

Mailing address, if different from principal place
of business

3636 Northwest 63rd Street 525 Tribble Gap Road

Number Street Number Street

Sie. C PO Box 869
P.O, Box

Oklahoma City OK 73116 Cumming GA 30028

City State ZIP Code City State ZIP Code
Location of principal assets, if different from
principal place of business

Oklahoma County

County

Number Street

City State ZIP Code

5. Debtor's website (URL)

www. QitekLabs.com

6. Type of debtor

[] Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP})

(“1 Partnership (excluding LLP)
(I Other. Specify:

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptey page 1

Case: 23-12139

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Debtor Gitek Labs of Oklahoma, LLG

Doc:1 Filed: 08/11/23. Page: 2 of 11

Case number (if krawa)

Name

A. Check one:
WZ Health Care

IJ Single Asset
J Railroad {as
J stockbroker

7. Describe debtor's business

Business (as defined in 11 U.S.C. § 101(27A))
Real Estate (as defined in 11 U.S.C. § 101(51B))
defined in 11 U.S.C. § 101(44))

(as defined in 11 U.S.C. § 107(53A))

Cl Commodity Broker (as defined in 11 U.S.C. § 101(6))
Cj Clearing Bank (as defined in 11 U.S.C. § 781(3))
[J None of the above

B. Check all that apply:
DC Tax-exempt entity (as described in 26 U.S.C. § 501)
[J Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.

§ 80a-3)

[J investment advisor (as defined in 15 U.S.C. § 80b-2(a}(11))

Co

GC. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
See htto:/Awww.naics.com/search! .

621511

8. Under which chapter ofthe Check one:
Bankruptcy Code is the C1 Chapter 7
debtor filing? 7 chapter 9

[1 Chapter 11.

A debtor who is a “small business
debtor’ must check the first sub-
box. A debtor as defined in

§ 1182(1) who elects fo proceed
under subchapter V of chapter 11
(whether or not the debtor Is a
“small business debtor’) must
check the second sub-box.

EJ Chapter 12

Check all that apply.

1 The debtor is 2 small business debtor as defined in 11 U.S.C. § 101(51D), and its
aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
are less than $3,024,725. If this sub-box is selected, attach the most
recent balance sheet, statement of operations, cash-flow statement, and federal income
tax return or if any of these documents do not exist, follow the procedure in
17:U.S.C, § 1176(1)(B).

WZ] The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
noncontingent liquidated debts (excluding debts awed to insiders or affiliates) are
less than $7,500,000, and it chooses to proceed under Subchapter V of
Chapter 11. If this sub-box is selected, attach the most recent balance sheet, statement
of operations, cash-flow statement, and federal income tax retum, or if
any of these documents do not exist, follow the procedure in 11 U.S.C.
§ 1116(7)(B).

Da plan is being filed with this petition.

(1 Acceptances of the plan were solicited prepetition from one or more classes of creditors,
in accordance with 11 U.S.C. § 1126(b).

(1 The debtor is required to file periodic reports (for example, 70K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Afachment to Voluntary Petition for Non-individuals Filing
for Bankruptey under Chapter 11 (Official Form 201A) with this form.

I The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
12b-2.

g, Were prior bankruptcycases [J No
filed by or against the debtor

within the last 8 years? ves. District When Case number
MM/ DDI YYYY

If more than 2 cases, attach a .

separate list. District When Case number
MM / DB YYYY

40. Are any bankruptcy cases [lNo

pending or being filed by a =

business partner oran ves. Deblor Relationship

affiliate of the debtor? District When

List all cases. If more than 1,

attach a separate list. Case number, if known

MM / DD /YYYY

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2

Case: 23-12139 Doc:1_ Filed: 08/11/23 Page: 3 of 11

Qitek Labs of Oklahoma, LLC

Name

Debtor Case number {if known)

11. Why is the case filed in this = Check all that apply:
district? ile metre . eat + arte letet

Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district.

Oa bankruptcy case conceming debtor's affiliate, general partner, or partnership is pending in this district.

12, Does the debtor own orhave [Jno
possession of any real
property or personal property

that needs immediate Why does the property need immediate attention? (Check alf that apply.)
attention?

(J ves. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

Oi it poses or is alleged to pose a threat of tmminent and identifiable hazard to public health or safety.
What is the hazard?

T it needs to be physically secured or protected fram the weather.

(1 it includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestack, seasonal goods, meat, dairy, produce, or securities-related
assets or other options).

2 other

Where is the property?.

Number Street

City State ZIP Code

Is the property insured?
C2 No

(I Yes. Insurance agency

Contact name

Phone

iz Statistical and administrative information

13. Debtor's estimation of Gheck ane:

avallable funds Funds will be available for distribution to unsecured creditors.

CJ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors,

. 4-49 CI 4,000-5,000 CL) 25,001-50,000
14. Estimated number of 2) so-99 CO) 5,001-10,000 2) 50,001-100,000
creditors Q 100-199 ©) 10,001-25,000 DC More than 100,000
C) 200-999
. 2) $0-$50,000 O $1,000,001-$10 million 2 $500,000,001-$1 billion
18. Estimated assets O $50,001-$100,000 © $10,000,001-$50 milion C1 $4,000,000,001-$10 billion
$100,001-$500,000 (J $50,000,001-$100 million © $10,000,000,001-$50 billion
OC) $500,001-$1 million C1 $100,000,001-$500 million QO) More than $50 billion

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptey page 3

Case: 23-12139 Doc:1

Filed: 08/11/23

Debtor Qitek Labs of Oklahoma, LLC
Name

a

~~ _"$0-$50,000
C) $50,001-$100,000
C1 $400,001-$500,000
LJ §500,001-$1 million

16. Estimated liabilities

CY $1,000,001-$10 million
C) $10,000,001-$50 million
O) $50,000,001-$100 million
CL) $100,000,001-$500 million

Case number (if Known)

Page: 4 of 11

CY $500,000,001-$1 billion

C1 $1,000,000,001-$10 billion
LY $10,000,000,001-$50 billion
C) More than $50 billion

im Request for Relief, Declaration, and Signatures

WARNING —

Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or

imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571. .

17. Declaration and signature of
authorized representative of petition.
debtor

and correct.

Executedon 08/11/2023
MM/ DDI YYYY

xX sf Zachary Husk

™ = The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this

= =| have been authorized to file this petition on behalf of the debtor.

™ ‘| have examined the information in this petition and have a reasonable belief that the information is true

| declare under penalty of perjury that the foregoing is true and correct.

Zachary Husk

Signature of authorized representative of debtor

Title CEO and Owner

Printed name

fe we

18. Signature of attorney x GP hana re Blaaeuead

Date 08/11/2023

Signature of attorney for debtor

Amanda R. Blackwood

MM/ DD! YYYY

Printed name

Blackwood Law Firm, PLLC

Firm name

512 NW 12th Street

Number Street

Oklahoma City

OK 73103

City

(405) 309-3600
Contact phone

33839

State ZIP Code

Email address

OK

Bar number

Stale

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy

Filed: 08/11/23 Page: 5of11

Case: 23-12139 Doc:1

SMM WI silat lifer meee Tati (gers

DabtaFnaite Qitek Labs of Oklahoma, LLC

United States Bankruptcy Court for the; Western District of Oklahoma

[| check if this is an

Casa number (If known): amended filing

Official Form 204

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest-
Unsecured Claims and Are Not Insiders

12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
largest unsecured claims.

Amount of unsecured claim
lé the claim is fully unsecured, fill In only unsecured

Nature of the claim Indicate if
(for example, trade claim is

Name of creditor and complete
matling address, including zip codo

Name, telephone number,
and email address of

creditor contact

debts, bank loans,
professional

contingent, claim amount. If claim is partially secured, fill in
unliquidated, jota] claim amount and deduction far value of

services, and ordisputed collateral or setoff to calculate unsecured claim,
goverment
contracts)
Total claim, if Deduction for ! Unsecured
partially value of + Claim
secured collateralor *
a setoff
Jini Moore Emptoyae -
1 4518 East Bajada Road Gompensation
Cave Creek, AZ, 853931 200,000.00
Customicro, LLG Sarah Simmers Services
2 110900 North Scottsdale Road 480-285-3746
Ste. 403 sarah@customedico.cam 51,375.00
Scottsdale, AZ, 85254 _
|_| Clintsys Kyle Huber Services
3 |3300 East Sunrise Drive 520-570-2098
Tueson, AZ, 85718 ar-us@clinisys.com 31,171.85
Telcar inc. Kwami Edwards
4 |7101 A Street 402-489-1207
accounting2@telcor.com 17,819.01
Lincoln, NE, 68510
Arkstone Sol Levi Suppliers or Vendors
5 17000 W. Palmetto Park Rd 212-203-1102
Boca Raton, FL, 33433 slevi@arkstonemecical.com 16,260.00
| |FWA Partners Owner, LLG Rose Bloss Landlord
6 [c/o Somerset Properties, Inc, 267-460-5658
768 N, Bethlehem Pike, Ste. 203 rbloss@somprop.com 12,420.70
Ambler, PA, 19002
Wave RCM Kyle Truax Collection Agency
? 1480 Main Street
Ste. 47 4,467.50
Butler, Nu, 07405
UPS Suppliers or Vendors
18 |PO Box 650116
Dallas, TX, 75265-0116 4,287.50
Official Form 204 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims page 1

Case: 23-12139 Doc:1_ Filed: 08/11/23 Page: 6 of 11

Debtor

Qltek Labs of Oklahoma, LLG

Name

Case number (ifknown)

Name of creditor and complete
mailing address, including zip coda

Name, telephone number,
and email address of
creditor contact

Nature of the claim Indicate if

(for example, trade
debts, bank loans,

claim is
contingent,

Amount of unsecured claim

lf the claim is fully unsecured, fill in only unsecured
claim amount. If claim is partially secured, fill in

pr ofessional unliquidated, total claim amount and deduction for value of
services, and ordisputed collateral or setoff to calculate unsecured claim.
government
contracts)
| Total claim, if Deduction for ‘ Unsecured
partially value of \ claim
secured collateral or
setoff
Cl Web Design Cornel Ivanescu Suppliers or Vendors
9 25595 Rouge River Dr 313-399-6201
Dearborn Heights, Ml, 48127 cornel@ignitemedicaltech.cam 3,874.00
Low Profile Investments, LLG Greg Pentz “Landlord —
10 /4334 Northwest Expressway 405-532-4706
Ste. 243 greg@pmrcentral.com 9,032.49
Oklahoma City, OK, 73116
Cross Technologies, Inc. T Suppliers or Vendors
11 dba Cross Procision Measurement
PO Box 746284 1,624.00
Atlanta, GA, 30374-6284
Titetime Sciences 615-550-5880 Suppliers or Vendors
42 |4037 Rural Plains Circle
Ste. 150
Franklin, TN, 37064 Leeeee
13 T. J. West Bearden Partnership Alan Dunlap Landlord/Rent
312 Nancy Lynn Lane 865-804-5383
Ste. 1 adunlap@tjdev.com 840.74
Knoxville, TN, 37919
Center far Medicare & Medicaid Services Disputed
14 |7500 Security Boulevard Unliquidated
Windsor Mill, MD, 21244 Contingent 0.00
Qlarant Integrity Solutions, LLG Disputed
15 |28464 Marlboro Avenue Unliquidated
Easton, MD, 21601 Contingent 0.00
16
17
18
19
20
Official Form 204 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims page 2

Case: 23-12139 Doc:1_ Filed: 08/11/23

ARKSTONE
7000 W PALMETTO PARK RD
BOCA RATON FL 33433

ARKSTONE

135 ROCKAWAY TURNPIKE
STE 111

LAWRENCE NY¥ 11559

BIOGEN PCR

4375 RIVER GREEN PARKWAY
STE 200

DULUTH GA 30096

CO ADAM GOLD ECC ASSOCIATES
26 RAILROAD AVE 117
BABYLON NY¥ 11702

CENTER FOR MEDICARE MEDICAID SERVICES
7500 SECURITY BOULEVARD
WINDSOR MILL MD 21244

CI WEB DESIGN
25595 ROUGE RIVER DR
DEARBORN HEIGHTS MI 48127

CLINISYS
3300 EAST SUNRISE DRIVE
TUCSON AZ 85718

CROSS THCHNOLOGIES INC

DBA CROSS PRECISION MEASUREMENT
PO BOX 746284

ATLANTA GA 303746284

CUSTOMICRO LLC

10900 NORTH SCOTTSDALE ROAD
STE 403

SCOTTSDALE AZ 85254

FWR PARTNERS OWNER LLC

CO SOMERSET PROPERTIES INC
768 N BETHLEHEM PIKE STE 203
AMBLER PA 19002

GEORGIA DEPARTMENT OF LABOR
148 ANDREW YOUNG INTER BLVD
ROOM 738

ATLANTA GA 303030000

Page: 7 of 11

Case: 23-12139 Doc:1_ Filed: 08/11/23

GEORGIA DEPARTMENT OF REVENUE
COMPLIANCE DIVISION ARCS BANKRUPTCY
1800 CENTURY BLVD NE SUITE 9100
ATLANTA GA 30345

INTERNAL REVENUE SERVICE
cIo

PO BOX 7346

PHILADELPHIA PA 191017346

JIM MOORE
4518 EAST BAJADA ROAD
CAVE CREEK AZ 85331

LIFETIME SCIENCES

4037 RURAL PLAINS CIRCLE
STE 150

FRANKLIN TN 37064

LOW PROFILE INVESTMENTS LLC
4334 NORTHWEST EXPRESSWAY
STE 243

OKLAHOMA CITY OK 73116

OKLAHOMA TAX COMMISSION
OKLAHOMA CITY OK 73194

QLARANT INTEGRITY SOLUTIONS LLC
28464 MARLBORO AVENUE
EASTON MD 21601

Tf J WEST BEARDEN PARTNERSHIP
312 NANCY LYNN LANE

STE 1

KNOXVILLE TN 37919

TELCOR INC
7101 A STREET
LINCOLN NE 68510

TENNESSEE DEPARTMENT OF REVENUE
500 DEADERICK STREET
NASHVILLE TN 37242

U S SECURITIES AND EXCHANGE COMMISSION
OFFICE OF REORGANIZATION STE 900

$950 E PACES FERRY ROAD NE

ATLANTA GA 303261382

UNITED STATES ATTORNEY GENERAL

CO MERRICK GARLAND US DEPT OF JUSTICE
950 PENNSYLVANIA AVE NW

WASHINGTON DC 20530

Page: 8 of 11
Case: 23-12139 Doc:1_ Filed: 08/11/23

UNITED STATES ATTORNEY CIVIL PROCESS CLERK
600 RICHARD B RUSSELL BUILDING

75 TED TURNER DRIVE SW

ATLANTA GA 30303

UPS
PO BOX 650116
DALLAS TX 752650116

WAVE RCM

180 MAIN STREET
STE 47

BUTLER NJ 07405

Page: 9 of 11
Case: 23-12139 Doc:1_ Filed: 08/11/23. Page: 10 of 11

IN THE UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF OKLAHOMA
OKLAHOMA CITY DIVISION

IN RE: Qitek Labs of Oklahoma, LLC CASE NO

CHAPTER 11

VERIFICATION OF CREDITOR MATRIX

The above named Debtor hereby verifies that the attached list of creditors fs true and correct to the best of hisher knowledge.

Date 08/11/2023 Signature fs/ Zachary Husk
Zachary Husk, GEO and Owner

fa] INITIAL REQUEST: (Check this box to begin receiving notices and orders from the US. Bankauptcy Court

Case: 23-12139 Doc:1 _ Filed: 08/11/23. Page: 11 of 11

U.S. BANKRUPTCY COURT
DISTRICT OF Oklahoma - Western

inree Qitek Labs of Oklahoma, LLC Debtor(s)

Case No.

DEBTOR'S ELECTRONIC NOTICING REQUEST (DeBN}

CHECK ONLY ONE BOX FOR THE APPLICABLE SECTION BELOW:

Via email)

Pursuant fo Federal Rules of Bankruptcy Procedure 9036, I hereby request receipt of court notices and orders via email, instead of U.S, mail, from
the Bankruptey Noticing Center (BNC) through the U.S. Bankruptcy Court’s Debtor Electronic Bankzuptey Noticing (DeBN) program.

T understand that this request is limited to receipt of only notices and orders filed by the US. Bankruptcy Court, I will continue to receive
documents filed by all other parties, such as the trustee and creditors, via U.S. mail or in person pursuant to court rules,

I understand that I will receive electronic notice of any documents filed by the court in any current or future bankruptcy or adversary case from
any bankruptey court district in which J am listed with the same name and address, including cases where 1] am listed as a creditor.

T understand that the first time the BNC receives an email bounce-back (undeliverable email), my DeBN account will be automatically disabled,
I will then receive notices and orders via U.S. mail, and I must file an updated request form if I wish to reactivate my account,

T understand that enrollment in DeBN is completely voluntarily, and 1 may file a request to deactivate my account at any time,

Tunderstand that if already have an active electronic noticing account, that account will be deactivated by creating this DeBN account.

UPDATE TO ACCOUNT INFORMATION: (Check this box to make changes to your existing DeBN
account)

I request the following update(s) to my DeBN account:
Thave a new email address as indicated below.

[| I filed a new bankruptcy case, and J have an existing DeBN account. Please review my account to ensure my name and address in
my account match this new case,

Trequest reactivation of my DeBN account so that I may receive court notices and orders via email, instead of U.S. mail.

| REQUEST TO DEACTIVATE ELECTRONIC NOTICING: (Check this box to request deactivation of

your DeBN account)

T request deactivation of my DeBN account, J understand that by deactivating my account, 1 will begin receiving notices and orders
filed by the U.S, Bankruptcy Court via U.S. mail, instead of email.
understand that 1 will continue to receive electronic notices until such time as the Court has deactivated my account.

Fam a debtor in this bankruptcy case, or the debtor’s authorized representative if the debtor is a business, and }] have read the
applicable section check-marked above and understand and agree to the terms and conditions set forth therein, | certify under
perjury that the information |am submitting te register for electronic notice is true and correct, Neither the U.S, Bankruptcy Court
ner the BNC bears any liability for errors resulting from the information | have submitted on this form.

NOTE: Joint debtors and debtors who already have a DeBN account must file separate request forms for an "2 2\s

initial request, account updates and to request account deactivation. a eon

Email Address (type or print clearly): zh usk@dgiteklabs com

Enter Email address again: ZN) usk@giteklabs com

